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11
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12
                                     UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14

15
     JUAN FLORES-MENDEZ, an individual and               Case No. 3:20-cv-4929-WHA
16   TRACEY GREENAMYER, an individual, and
     on behalf of classes of similarly situated          DECLARATION OF REBECCA
17   individuals,                                        HARLOW IN SUPPORT OF
                                                         ADMINISTRATIVE MOTION TO
18                     Plaintiffs,                       SEAL PURSUANT TO RULE 79-5(f)

19          v.                                           JUDGE:      The Honorable William Alsup
20   ZOOSK, INC., a Delaware corporation,

21                     Defendant.

22

23
     I, Rebecca Harlow, hereby declare as follows:
24
            1.      I am an associate at the law firm Orrick, Herrington & Sutcliffe, LLP, counsel of
25
     record for Defendant, Zoosk, Inc. (“Zoosk”) in the above-captioned litigation.
26
            2.      I submit this Civil Local Rule 79-5(c)(1) Declaration pursuant to Civil Local Rule
27
     79-5(f)(3), in support of Plaintiffs Juan Flores-Mendez’s and Tracey Greenamyer’s (“Plaintiffs”)
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 1   incorrectly titled and incorrectly filed “Administrative Motion to Seal Portions of Plaintiff’s Motion

 2   for Class Certification.” I have knowledge of the facts set forth herein, and if called upon as a

 3   witness, I could testify to them competently under oath.

 4                                              *      *        *

 5          3.        On May 20, 2022, Plaintiffs filed a document titled “Administrative Motion to Seal

 6   Portions of Plaintiff’s Motion for Class Certification.” ECF 201. According to the title of

 7   Document 201, such motion would be filed pursuant to Civil Local Rule 79-5(c).

 8          4.        However, in the last sentence of Document 201, Plaintiffs reference Civil Local Rule

 9   79-5(f) and thus appear to intend Document 201 to be a Civil Local Rule 79-5(f) motion, which,
10   according to Rule 79-5(f), must be titled as an “Administrative Motion to Consider Whether

11   Another Party’s Material Should Be Sealed.” It thus appears Plaintiffs filed a Rule 79-5(c) motion

12   but intended the motion to operate as a Rule 79-5(f) motion.

13          5.        Because of Plaintiffs’ apparent failure to comply with Rule 79-5(f), attorneys for

14   Zoosk did not understand Document 201 to purport to be a Rule 79-5(f) motion until May 31, 2022,

15   admittedly after the seven days allowed by Rule 79-5(f)(3) to file a Rule 79-5(c)(1) declaration in

16   support of sealing the materials identified in Plaintiffs’ administrative motion.

17          6.        Given the confusion that resulted from Plaintiffs’ failure to comply with Rule 79-

18   5(f), Zoosk respectfully requests this Court allow this Declaration even though it has been filed two

19   business days after the deadline set forth in the Rule.
20                                              *      *        *

21          7.        I have reviewed the parties’ Stipulated Protective Order (ECF 69) and the Court’s

22   Protective Order (ECF 71) which approved of the parties’ Stipulated Protective Order, subject to

23   various conditions.

24          8.        The Stipulated Protective Order reaffirms that the parties must comply with Civil

25   Local Rule 79-5 “when a party seeks permission from the [C]ourt to file material under seal.” ECF

26   69 at 1:24–25.

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 1          9.      Plaintiffs’ Motion for Class Certification refers to, incorporates, and attaches as

 2   exhibits material designated “Confidential” pursuant to the Protective Order (the “Designated

 3   Material”).

 4          10.     The Designated Material sets forth detailed confidential information concerning,

 5   inter alia, (i) the structure of Zoosk’s network and the virtual location of its proprietary property

 6   including its source code; (ii) the security posture of Zoosk’s network infrastructure; (iii) Zoosk’s

 7   data security and incident response practices; (iv) methods purportedly used by unauthorized third-

 8   parties to purportedly access Zoosk’s network; (v) actions taken by Zoosk to prevent and protect

 9   against unauthorized intrusion into its network; and (vi) Zoosk’s detailed financial reports. Indeed,
10   the Designated Material includes complete deposition transcripts of four of Zoosk’s information

11   security employees, the deposition transcript of Zoosk’s corporate designee (whose notice of

12   deposition exclusively identified topics related to Zoosk’s data security), and reports of Plaintiffs’

13   experts who cite extensively to these depositions, as well as Zoosk’s October 8, 2021 Amended

14   Interrogatory Reponses (again, which respond almost exclusively to questions related to Zoosk’s

15   data security) and exhibits that contain Zoosk’s detailed financial information.

16          11.     California law requires a party seeking to seal records in or attached to a non-

17   dispositive motion to demonstrate good cause exists to seal such records. “A ‘good cause’ showing

18   under [Federal Rule of Civil Procedure] 26(c) will suffice to keep sealed records attached to non-

19   dispositive motions. Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1180 (9th Cir. 2006).
20   Rule 26(c) states that if “good cause” is shown in discovery, a district court may issue “any order

21   which justice requires to protect a party or person from annoyance, embarrassment, oppression, or

22   undue burden or expense.” FED. R. Civ. P. 26(c). “For good cause to exist, the party seeking

23   protection bears the burden of showing specific prejudice or harm will result if no protective order

24   is granted.” Phillips ex rel. Ests. of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1210–11 (9th Cir.

25   2002). “The law . . . gives district courts broad latitude to grant protective orders to prevent

26   disclosure of materials for many types of information, including, but not limited to, trade secrets or

27   other confidential research, development, or commercial information.” Id. (citing FED. R. CIV. P.

28   26(c)(7)). “When a court grants a protective order for information produced during discovery, it
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 1   already has determined that ‘good cause’ exists to protect this information from being disclosed to

 2   the public by balancing the needs for discovery against the need for confidentiality.” Id. at 1213.

 3   “Therefore, when a party attaches a sealed discovery document to a nondispositive motion, the

 4   usual presumption of the public’s right of access is rebutted.” Id.

 5          12.     Good cause exists to seal the Designated Material.           The Designated Material

 6   constitutes trade secrets and confidential research, development, and commercial information.

 7   Failure to seal and disclosure of the Designated Material will expose Zoosk and the PII of Zoosk’s

 8   users to an exponentially increased risk of unauthorized access and criminal hacking. Failure to

 9   seal and disclosure of the Designated Material will also cause competitive harm to Zoosk.
10          13.     Here, no alternative that is less restrictive than sealing the Designated Material is

11   sufficient. While Zoosk believes it was exceedingly unnecessary for Plaintiffs to file and then seek

12   to seal complete deposition transcripts as attachments to its non-dispositive motion rather than file

13   selected relevant excerpts, because Plaintiffs have chosen to file the complete transcripts, good

14   cause exists to seal the entirety of the Designated Materials.

15          14.     For the foregoing reasons and pursuant to Civil Local Rule 79-5(f) and Federal Rule

16   of Civil Procedure 26, the Designated Material should be filed under seal and Plaintiffs’ Proposed

17   Order (ECF 201.12) should be granted.

18

19   Dated: June 1, 2022                            ORRICK, HERRINGTON & SUTCLIFFE LLP
20

21                                                  By:               /s/ Rebecca Harlow
                                                                         REBECCA HARLOW
22                                                                       Attorney for Defendant
                                                                               Zoosk, Inc.
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